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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:14CR409
                                               )
                Plaintiff,                     )
                                               )
                vs.                            )            TENTATIVE FINDINGS
                                               )
EMMANUEL CHAPLAIN,                             )
                                               )
                Defendant.                     )

       The Court has received the 2nd Revised Presentence Investigation Report and

Addendum (“PSR”), and the Defendant's objections (Filing No. 243). The government

adopted the PSR (Filing No. 246.) See Amended Order on Sentencing Schedule, ¶ 6. The

Court advises the parties that these Tentative Findings are issued with the understanding

that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines

are advisory.

       Accordingly,

       IT IS ORDERED:

       1.       The Court takes judicial notice of the evidence presented at trial and

specifically finds that the evidence was sufficient to support the jury verdicts on all counts,

as well as the sentencing enhancements and the calculation of restitution reflected in the

PSR;

       2.       Defendant’s Objections to Presentence Investigation Report (Filing No. 243)

are overruled to the extent they challenge whether the evidence presented at trial was

sufficient to support the jury verdicts on all counts, as well as the sentencing enhancements

and the calculation of restitution reflected in the PSR, and to the extent they seek to strike

or modify the government’s version of the case;
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       3.     Remaining objections asserted by the Defendant in Filing No. 243 will be

heard at the sentencing hearing;

       4.     The Court intends to adopt the PSR in all other respects;

       5.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       6.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final; and

       7.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 6th day of June, 2016.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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